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         EXHIBIT 9
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  From:          James Kolenich
  To:            Jennifer Brennan
  Cc:            John DiNucci; Bryan Jones; John DiNucci; Christopher Greene; Rafael Guthartz
  Subject:       Re: Sines v. Kessler - Third Party Discovery Vendor Contract
  Date:          Saturday, February 16, 2019 3:37:14 PM
  Attachments:   image001.png
                 image002.png
                 image003.png
                 image004.png
                 image005.png
                 image006.png
                 image007.png
                 image008.png
                 image009.png
                 image010.png
                 image011.png
                 image012.png
                 image013.png
                 image014.png


  Hi Jennifer:

   As has become the norm for this case, some issues have arisen. 1) I cannot bind
  Matthew Heimbach to a contract as he fired me some time ago. Mea Culpa for not
  noticing his name in the documents sooner. 2) It appears the National Socialist
  Movement, Nationalist Front, and Jeff Schoep have also fired me. This is a very
  recent development which I have been unable to officially confirm but there is reason
  to believe that it is so and I therefore cannot, ethically, bind them to a contract either.

  Would you please help me out and circulate another docusign version having
  removed Matthew Heimbach, National Socialist Movement, Nationalist Front, and Jeff
  Schoep. I will promptly sign this amended version.

  Thank you,

  Jim Kolenich

  On Sat, Feb 16, 2019 at 7:28 AM Jennifer Brennan <jbrennan@idsinc.com> wrote:

   Good morning,



   As an update, the agreement is out for signature by the parties. It has been executed by Ms.
   Tenzer on behalf of Plaintiffs and Mr. Jones on behalf of his clients. It is awaiting signature
   by Mr. DiNucci and Mr. Kolenich. Each should have received it yesterday via an email
   from iDS Contracts around 7 pm. Please follow the prompts in that email to affix your
   electronic signature.



   Did we agree on a date and time for a kick off call next week?

   Many thanks, Jennifer
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                                   4075



   ---

   Jennifer A. Brennan

   Director of Legal, Risk & Compliance

   Direct: 202.249.7882
   Mobile: 202.309.1927




   From: Jennifer Brennan <jbrennan@idsinc.com>
   Date: Friday, February 15, 2019 at 1:56 PM
   To: John DiNucci <dinuccilaw@outlook.com>
   Cc: James Kolenich <jek318@gmail.com>, Bryan Jones <bryan@bjoneslegal.com>, John
   DiNucci <dinuccijohnm@gmail.com>, Christopher Greene <cgreene@kaplanhecker.com>,
   Rafael Guthartz <rguthartz@idsinc.com>
   Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



   Thank you. I will prepare the final agreement and send it through DocuSign for execution.
   The email will come from iDS Contracts.



   Many thanks! Jennifer



   ---

   Jennifer A. Brennan

   Director of Legal, Risk & Compliance

   Direct: 202.249.7882
   Mobile: 202.309.1927
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                                   4076



   From: John DiNucci <dinuccilaw@outlook.com>
   Date: Friday, February 15, 2019 at 1:47 PM
   To: Jennifer Brennan <jbrennan@idsinc.com>
   Cc: James Kolenich <jek318@gmail.com>, Bryan Jones <bryan@bjoneslegal.com>, John
   DiNucci <dinuccijohnm@gmail.com>, Christopher Greene <cgreene@kaplanhecker.com>
   Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



   [EXTERNAL]

   Ms. Brennan:



      I am in agreement.



               John A. EiNucci



   Law Office of John A. DiNucci
   8180 Greensboro Drive
   Suite 1150
   McLean, Virginia 22102
   tel.: (703) 821-4232
   fax: (703) 790-9863

   Admitted in D.C., Maryland, New York and Virginia




   From: Jennifer Brennan <jbrennan@idsinc.com>
   Sent: Thursday, February 14, 2019 1:01 PM
   To: James Kolenich
   Cc: Christopher Greene; John DiNucci; Bryan Jones; Rafael Guthartz; Gabrielle E. Tenzer;
   Michael Bloch
   Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



   Counsel,



   I have reviewed the proposed revisions to the indemnity language sent in a separate email.
   iDS agrees to the proposed revisions with the exception of (iii) regarding the defense of an
   indemnified claim. Defense would be controlled by iDS’s professional liability insurer per
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   the terms of the policy. The insurer may agree to allow Defendant to associate in the
   defense, however, I cannot contractually bind the insurer to do so.



   Please let me know if all defendants are in agreement with the proposed indemnification
   language without (iii).



   Many thanks, Jennifer




   ---

   Jennifer A. Brennan

   Director of Legal, Risk & Compliance

   Direct: 202.249.7882
   Mobile: 202.309.1927




   From: James Kolenich <jek318@gmail.com>
   Date: Thursday, February 14, 2019 at 12:29 PM
   To: Jennifer Brennan <jbrennan@idsinc.com>
   Cc: Christopher Greene <cgreene@kaplanhecker.com>, John DiNucci
   <dinuccilaw@outlook.com>, Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz
   <rguthartz@idsinc.com>, "Gabrielle E. Tenzer" <gtenzer@kaplanhecker.com>, Michael
   Bloch <mbloch@kaplanhecker.com>
   Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



   [EXTERNAL]

   Thanks Jennifer. I have no further comments but I believe Mr. DiNucci has
   circulated proposed additional language.



   Jim
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   On Thu, Feb 14, 2019 at 12:03 PM Jennifer Brennan <jbrennan@idsinc.com> wrote:

     Jim,



     Thank you for your separate email and we can accommodate the request. My apologies
     for the belated acknowledgment.



     John and Bryan,



     Do you have any further comments on the engagement letter? If not, then I will circulate
     an execution version.



     As a reminder, this will come to you for signature using DocuSign in an email from iDS
     Contracts. You do not need to download any software and can execute using a mobile
     device.

     Many thanks, Jennifer



     ---

     Jennifer A. Brennan

     Director of Legal, Risk & Compliance

     Direct: 202.249.7882
     Mobile: 202.309.1927




     From: James Kolenich <jek318@gmail.com>
     Date: Thursday, February 14, 2019 at 11:57 AM
     To: Christopher Greene <cgreene@kaplanhecker.com>
     Cc: Jennifer Brennan <jbrennan@idsinc.com>, John DiNucci
     <dinuccilaw@outlook.com>, Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz
     <rguthartz@idsinc.com>, "Gabrielle E. Tenzer" <gtenzer@kaplanhecker.com>, Michael
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     Bloch <mbloch@kaplanhecker.com>
     Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



     [EXTERNAL]

     Chris:



       I e-mailed Jennifer with IDS yesterday regarding the contract. I requested one
     additional sentence regarding my client's inability to pay if called upon to so under
     the indemnification clause but did authorize my signature (whether or not the
     requested addition was acceptable) and advised we are ready to provide the
     devices and any account credentials they need when they are. No response as
     yet.



     To my knowledge no call has been scheduled yet.



     It makes sense to me that Plaintiffs provide their search terms and then we can
     add to them if necessary. In separate litigation with Mr. Kessler the counter
     parties search terms were extensive and I added a total of three terms to their
     several dozen.



     I am available anytime next Tuesday.



     Jim



     On Thu, Feb 14, 2019 at 10:34 AM Christopher Greene <cgreene@kaplanhecker.com>
     wrote:

       Counsel,



       During Tuesday’s conference, the Court instructed the parties to finalize and execute
       the Third Party Discovery Vendor contract no later than this Friday. Since the sole
       remaining issue pertains only to iDS and Defendants, we wanted to check in about
       whether Defendants have made any counter-proposal or otherwise resolved the issue.
       As we have stated on prior meet and confers, and during yesterday’s conference,
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       Plaintiffs take no position as to the scope of the indemnity provided by Defendants to
       iDS. However, the Court has now made clear that there can be no further delay.



       Moreover, please let us know if you have scheduled the call with iDS to discuss the
       logistics of ensuring a timely and efficient collection of Defendants’ Electronic Devices
       and Social Media Accounts.



       Finally, we would like to discuss with Defendants any search terms and date ranges
       they intend to apply to the corpus of electronically stored information obtained from the
       imaging of Defendants’ Electronic Devices and Social Media Accounts. As you know,
       the Imaging Order requires that Defendants share with Plaintiffs such information, (see
       Imaging Order, ¶ 8), and coming to agreement on those parameters in advance will help
       Defendants proceed to reviewing the collected information as soon as possible. Please
       let us know when you are available to speak on Tuesday of next week.



       Regards,



       Christopher B. Greene | Kaplan Hecker & Fink LLP
       350 Fifth Avenue | Suite 7110
       New York, New York 10118
       (W) 929.294.2528 | (M) 646.856.6861
       cgreene@kaplanhecker.com




       From: Jennifer Brennan <jbrennan@idsinc.com>
       Sent: Wednesday, February 6, 2019 11:34 AM
       To: Christopher Greene <cgreene@kaplanhecker.com>; James Kolenich
       <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
       Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
       Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
       <mbloch@kaplanhecker.com>
       Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



       My apologies if I missed an email response. Is the proposed indemnity language below
       from iDS acceptable to Defendants? If so, I will finalize the engagement letter and
       circulate it for execution.

       Many thanks, Jennifer
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                                   4081



       ---

       Jennifer A. Brennan

       Direct: 202.249.7882
       Mobile: 202.309.1927




       From: Christopher Greene <cgreene@kaplanhecker.com>
       Date: Monday, February 4, 2019 at 3:26 PM
       To: Jennifer Brennan <jbrennan@idsinc.com>, James Kolenich <jek318@gmail.com>,
       John DiNucci <dinuccilaw@outlook.com>
       Cc: Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>,
       Gabrielle Tenzer <gtenzer@kaplanhecker.com>, Michael Bloch
       <mbloch@kaplanhecker.com>
       Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



       [EXTERNAL]

       John, Jim, Bryan – Please let us know if you have any objections to iDS’ proposed
       language. If you don’t, we can prepare a version for execution.




       From: Jennifer Brennan <jbrennan@idsinc.com>
       Sent: Monday, February 4, 2019 10:40 AM
       To: Christopher Greene <cgreene@kaplanhecker.com>; James Kolenich
       <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
       Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
       Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
       <mbloch@kaplanhecker.com>
       Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



       Good morning,



       iDS has reviewed the proposed revisions from Defendants regarding the
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        indemnification provision. While iDS is open to a provision that limits a Defendant’s
        expose to a particular subset of claims/circumstances, the proposed revision does not
        offer iDS adequate protection if a subpoena, court order or other legal process is
        brought against iDS directly and instead would only apply if obtained or issued by a
        Defendant.



        iDS proposes the following language to broaden the scope of covered
        claims/circumstances while still limiting the indemnification obligation to a particular
        Defendant.



        6.1         Indemnification. Defendants shall indemnify and hold iDS harmless from and against all
        losses, liabilities, costs, damages, and expenses incurred by iDS as a result of a claim, demand,
        subpoena, cause of action, or other legal process by a third-party other than Plaintiffs related to (a) the
        performance of Services by iDS, or (b) any Confidential Information of Defendant Firms or Defendant
        Clients, provided, however, as follows: (i) no Defendant shall be so liable to indemnify or hold harmless
        iDS other than for said matters that relate to the content of, or the disclosure to iDS of, said Defendant's
        Confidential Information, or (ii) in the event that the Project Contact or iDS is requested pursuant to
        subpoena, court order or other legal process to produce any documents or provide testimony related to
        the performance of the Services, other than as included in the Services, the Defendant(s) that provided
        such Confidential Information to iDS shall pay iDS for all professional time and expenses incurred in
        preparing for and responding to said requests for documents or said providing testimony in accordance
        with Section 2.1 or applicable statutory rates.




        Please let me know if the above is amendable to Defendants.



        Best, Jennifer

        ---

        Jennifer A. Brennan

        Direct: 202.249.7882
        Mobile: 202.309.1927




        From: Christopher Greene <cgreene@kaplanhecker.com>
        Date: Thursday, January 31, 2019 at 11:17 AM
        To: Jennifer Brennan <jbrennan@idsinc.com>, James Kolenich <jek318@gmail.com>,
Case 3:17-cv-00072-NKM-JCH Document 432-9 Filed 02/27/19 Page 11 of 17 Pageid#:
                                    4083

        John DiNucci <dinuccilaw@outlook.com>
        Cc: Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>,
        Gabrielle Tenzer <gtenzer@kaplanhecker.com>, Michael Bloch
        <mbloch@kaplanhecker.com>
        Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



        [EXTERNAL]

        Mr. DiNucci,



        During Tuesday’s meet and confer concerning the proposed Third Party Discovery
        Vendor contract, you indicated that you would propose revisions to Section 6.1 for the
        parties to consider by yesterday. Please let us know when you expect to send the
        proposed revisions. As I stressed during Tuesday’s call, there is some urgency to
        finalizing and executing this contract in light of the discovery schedule.



        Regards,



        Christopher B. Greene | Kaplan Hecker & Fink LLP
        350 Fifth Avenue | Suite 7110
        New York, New York 10118
        (W) 929.294.2528 | (M) 646.856.6861
        cgreene@kaplanhecker.com




        From: Christopher Greene
        Sent: Monday, January 28, 2019 5:35 PM
        To: Jennifer Brennan <jbrennan@idsinc.com>; James Kolenich <jek318@gmail.com>;
        John DiNucci <dinuccilaw@outlook.com>
        Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
        Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
        <mbloch@kaplanhecker.com>
        Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



        All,



        Does tomorrow at 3 pm work for the group? So far I see that Mr. Kolenich and Ms.
        Brennan can make it then. If not, KHF is also available Wednesday at 2-2:30 and after
        5:30, and Thursday 3:30-4 or 5-6 pm (which conform with the availabilities received
Case 3:17-cv-00072-NKM-JCH Document 432-9 Filed 02/27/19 Page 12 of 17 Pageid#:
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        thus far).



        Regards,



        Christopher B. Greene | Kaplan Hecker & Fink LLP
        350 Fifth Avenue | Suite 7110
        New York, New York 10118
        (W) 929.294.2528 | (M) 646.856.6861
        cgreene@kaplanhecker.com




        From: Jennifer Brennan <jbrennan@idsinc.com>
        Sent: Monday, January 28, 2019 10:07 AM
        To: James Kolenich <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
        Cc: Christopher Greene <cgreene@kaplanhecker.com>; Bryan Jones
        <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>; Gabrielle Tenzer
        <gtenzer@kaplanhecker.com>; Michael Bloch <mbloch@kaplanhecker.com>
        Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



        Good morning,



        iDS is generally available on Tuesday and Friday. On Wednesday and Thursday I am
        in all day meetings, however, I do have some periods of availability as listed below:



              Tuesday – generally available
              Wednesday – 12:30-1 pm, 2-2:30 pm, or after 5:30 pm
              Thursday – 1-2 pm, 3:30-4 pm or 5-6 pm
              Friday – generally available


        Many thanks, Jennifer



        ---

        Jennifer A. Brennan

        Direct: 202.249.7882
        Mobile: 202.309.1927
Case 3:17-cv-00072-NKM-JCH Document 432-9 Filed 02/27/19 Page 13 of 17 Pageid#:
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        From: James Kolenich <jek318@gmail.com>
        Date: Monday, January 28, 2019 at 9:49 AM
        To: John DiNucci <dinuccilaw@outlook.com>
        Cc: Christopher Greene <cgreene@kaplanhecker.com>, Bryan Jones
        <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>, Jennifer
        Brennan <jbrennan@idsinc.com>, Gabrielle Tenzer <gtenzer@kaplanhecker.com>,
        Michael Bloch <mbloch@kaplanhecker.com>
        Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



        I am available Tuesday, Wednesday, or Thursday anytime, but unavailable
        Friday.



        Jim



        On Fri, Jan 25, 2019 at 1:13 PM John DiNucci <dinuccilaw@outlook.com> wrote:

          All:



              I have a trial on Monday and am tied up today dealing with it.



              What is everyone's availability from next Tuesday forward?



                         John



          Law Office of John A. DiNucci
          8180 Greensboro Drive
          Suite 1150
          McLean, Virginia 22102
          tel.: (703) 821-4232
          fax: (703) 790-9863
Case 3:17-cv-00072-NKM-JCH Document 432-9 Filed 02/27/19 Page 14 of 17 Pageid#:
                                    4086


         Admitted in D.C., Maryland, New York and Virginia




         From: Christopher Greene <cgreene@kaplanhecker.com>
         Sent: Friday, January 25, 2019 10:58 AM
         To: John DiNucci; Bryan Jones; James Kolenich; Rafael Guthartz;
         jbrennan@idsinc.com
         Cc: Gabrielle Tenzer; Michael Bloch
         Subject: Sines v. Kessler - Third Party Discovery Vendor Contract



         All,



         Attached is a revised contract with the Third Party Discovery Vendor incorporating
         the comments from the parties’ meet and confer on January 18, 2019. We believe
         that Plaintiffs, Defendants, and iDS should convene a call to resolve any outstanding
         concerns so that the parties can execute the contract and proceed with the collection
         required by the Court’s Order for the Imaging, Preservation, and Production of
         Documents.



         Please let us know when you are available to speak. Plaintiffs are generally available
         this afternoon after 2 pm, and on Monday after 11:30 am.



         Regards,



         Christopher B. Greene | Kaplan Hecker & Fink LLP
         350 Fifth Avenue | Suite 7110
         New York, New York 10118
         (W) 929.294.2528 | (M) 646.856.6861
         cgreene@kaplanhecker.com




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        --

        James E. Kolenich

        Kolenich Law Office

        9435 Waterstone Blvd. #140

        Cincinnati, OH 45249

        513-444-2150

        513-297-6065(fax)

        513-324-0905 (cell)




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         --

         James E. Kolenich

         Kolenich Law Office

         9435 Waterstone Blvd. #140

         Cincinnati, OH 45249

         513-444-2150

         513-297-6065(fax)

         513-324-0905 (cell)



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    --

    James E. Kolenich

    Kolenich Law Office

    9435 Waterstone Blvd. #140
Case 3:17-cv-00072-NKM-JCH Document 432-9 Filed 02/27/19 Page 17 of 17 Pageid#:
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    Cincinnati, OH 45249

    513-444-2150

    513-297-6065(fax)

    513-324-0905 (cell)



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    or other use of this communication or any attached document(s) other than for the purpose
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    sender. If you have received this communication in error, please notify the sender
    immediately by reply e-mail and promptly destroy all electronic and printed copies of this
    communication and any attached documents.


  --
  James E. Kolenich
  Kolenich Law Office
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249
  513-444-2150
  513-297-6065(fax)
  513-324-0905 (cell)
